                              Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 1 of 24 Page ID #:1591



                                      1   NICHOLAS J. BOOS (SBN 233399)
                                          nboos@maynardnexsen.com
                                      2   MAYNARD NEXSEN LLP
                                          Two Embarcadero Center, Suite 1450
                                      3   San Francisco, California 94111
                                          Telephone: (415) 646-4700
                                      4   Facsimile: (205) 254-1999
                                      5   Attorneys for Plaintiff and Counter-Defendant
                                          TRAVELERS COMMERCIAL INSURANCE
                                      6   COMPANY
                                      7

                                      8
                                                             UNITED STATES DISTRICT COURT
                                      9
                                                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                     10

                                     11   Travelers Commercial Insurance              Case No. 2:21-cv-5832-GW (PDx)
                                          Company, a Connecticut Corporation,
                                     12                                               MEMORANDUM OF POINTS
                                                                   Plaintiff,         AND AUTHORITIES IN
                                     13                                               SUPPORT OF TRAVELERS
                                                   v.                                 COMMERCIAL INSURANCE
Two Embarcadero Center, Suite 1450




                                     14                                               COMPANY’S OPPOSITION TO
                                          New York Marine and General Insurance       MOTION TO DISQUALIFY
     San Francisco, CA 94111




                                     15   Company, a Delaware Corporation,
      Maynard Nexsen LLP




                                                                                      Date: May 11, 2023
         (415) 646-4700




                                     16                           Defendant.          Time: 8:30 a.m.
                                                                                      Judge: Hon. George H. Wu
                                     17                                               Courtroom: 9D
                                     18

                                     19   New York Marine and General Insurance
                                          Company, a Delaware Corporation,
                                     20
                                                                Counter-Claimant,
                                     21
                                                   v.
                                     22
                                          Travelers Commercial Insurance
                                     23   Company, a Connecticut Corporation,
                                     24                         Counter-Defendant.
                                     25
                                     26

                                     27

                                     28

                                          06817539.2                             i
                                            TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
                              Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 2 of 24 Page ID #:1592



                                      1                                              TABLE OF CONTENTS
                                      2
                                          I.     INTRODUCTION ............................................................................................. 1
                                      3

                                      4
                                          II.       FACTUAL BACKGROUND.......................................................................... 1

                                      5   III. LEGAL STANDARD ...................................................................................... 3
                                      6
                                          IV.       ARGUMENT ................................................................................................... 4
                                      7

                                      8        A.       The Motion Rests On A Faulty And Outdated Legal Premise................. 4
                                      9
                                               B. The Requirements of Rule 1.10(a) Are Met Such That Any Conflict Of
                                     10        Mr. Chipman Should Not Be Imputed To Maynard. ......................................... 7
                                     11
                                                 1.      Mr. Chipman’s Participation, If Any, Was Insubstantial. .................... 8
                                     12
                                                 2.      Mr. Chipman Was Timely Screened...................................................... 11
                                     13
Two Embarcadero Center, Suite 1450




                                     14          3.      Prompt Notice Was Given To NY Marine. ........................................... 13
     San Francisco, CA 94111




                                     15
      Maynard Nexsen LLP




                                               C. The Motion Identifies A Host Of Conduct That Does Not Give Rise To
         (415) 646-4700




                                     16        The Possibility Of Disqualification. ................................................................... 13
                                     17
                                                 1.      Mr. Chipman’s Time Before Becoming A Lawyer. .............................. 14
                                     18

                                     19          2.      Mr. Chipman’s Work On Unrelated Matters At McCormick Barstow.
                                                         15
                                     20

                                     21          3. The Work Of Other McCormick Barstow Attorneys On The Matter
                                                 At Issue.............................................................................................................. 16
                                     22

                                     23        D.       The Motion’s Purpose Is Tactical, Further Justifying Denial. .............. 17
                                     24
                                          V. CONCLUSION ................................................................................................ 18
                                     25
                                     26

                                     27

                                     28

                                           06817539.2                                                     i
                                               TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 3 of 24 Page ID #:1593



    1
                                                 TABLE OF AUTHORITIES
    2
        Cases
    3
        Adams v. Aerojet-Gen. Corp., 86 Cal. App. 4th 1324, 1336, 104 Cal. Rptr. 2d 116,
    4    124 (2001) ............................................................................................................. 16
    5   Arizona All. for Cmty. Health Centers v. Arizona Health Care Cost Containment
    6     Sys., 47 F.4th 992, 999 (9th Cir. 2022).................................................................... 6

    7
        Exp.-Imp. Bank of Korea v. ASI Corp., No. CV162056MWFJPRX, 2019 WL
          8200603, at *10 (C.D. Cal. Jan. 16, 2019)...................................................... 12, 13
    8
        Farris v. Fireman's Fund Ins. Co., 119 Cal. App. 4th 671, 680 (2004) ................... 15
    9   Frazier v. Superior Ct., 97 Cal. App. 4th 23, 27, 118 Cal. Rptr. 2d 129, 132 (2002)
   10     ............................................................................................................................... 16
   11   In re Cnty. of Los Angeles, 223 F.3d 990, 995 (9th Cir. 2000) ............................... 1, 7
   12   In re Complex Asbestos Litig., 232 Cal. App. 3d 572, 592 (Ct. App. 1991) ............ 15
        Klein v. Facebook, Inc., No. 20-CV-08570-LHK, 2021 WL 3053150, at *4 (N.D.
   13
          Cal. July 20, 2021) .................................................................................... 5, 8, 9, 11
   14
        Maria De Jesus Cruz Ramos v. Costco Wholesale Corp., et al., Case no. CV 22-
   15    3579- MWF (AFMx), 2022 WL 18278604 *2 (C.D.Cal. Nov. 9, 2022) ................ 5
   16   Moreno v. Autozone, Inc., No. C05-04432 MJJ, 2007 WL 4287517, at *2 (N.D. Cal.
         Dec. 6, 2007) ......................................................................................................... 17
   17
        Optyl Eyewear Fashion Int'l Corp. v. Style Companies, Ltd., 760 F.2d 1045, 1050
   18    (9th Cir. 1985) ..................................................................................................... 1, 4
   19   People ex rel. Dep't of Corporations v. SpeeDee Oil Change Sys., Inc. (“SpeeDee
   20
          Oil”), 20 Cal. 4th 1135, 1145 (1999) .............................................................. 3, 4, 5
        Rodriguez v. W. Publ'g Corp., 563 F.3d 948, 967 (9th Cir. 2009) .............................. 3
   21
        Sharp v. Next Entm't, Inc., 163 Cal. App. 4th 410, 424 (2008) .................................. 4
   22
        Sherman v. CLP Res., Inc., No. CV 12-8080-GW(PLAX), 2015 WL 13542762, at
   23     *2 (C.D. Cal. Feb. 4, 2015) ..................................................................................... 3
   24   Sierra v. Costco Wholesale Corp., No. 22-CV-01444-JSW, 2022 WL 4454359, at *4
   25
          (N.D. Cal. Sept. 23, 2022) ....................................................................................... 5
        UMG Recordings, Inc. v. MySpace, Inc., 526 F.Supp.2d 1046, 1062 (C.D. Cal.
   26
         2007)...................................................................................................................... 17
   27
        Victaulic Co. v. Am. Home Assurance Co., 80 Cal. App. 5th 485, 506–07 (2022) .. 15
   28   Visa U.S.A., Inc. v. First Data Corp., 241 F.Supp.2d 1100, 1104 (N.D. Cal. 2003) .. 4

         06817539.2                                                     ii
             TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 4 of 24 Page ID #:1594



    1   White v. Superior Court, 98 Cal.App.3d 51, 55 (1979) ............................................ 17
    2   William H. Raley Co. v. Superior Court, 149 Cal. App. 3d 1042, 1048 (1983) ......... 4
    3   Statutes
    4   C.D. Cal. L.R. 83-3.1.2 ............................................................................................... 3
    5   Cal. R. Prof’l Conduct 1.01(k) ........................................................................... 11, 12
    6   California Rule of Professional Conduct 1.10(a)(2) ...................................... 1, 4, 5, 7
    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25
   26

   27

   28

         06817539.2                                                iii
             TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
                              Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 5 of 24 Page ID #:1595



                                      1
                                                     Plaintiff and Counter-Defendant Travelers Commercial Insurance Company
                                      2
                                          (“Travelers”) responds in opposition to Defendant and Counter-Claimant New York
                                      3
                                          Marine and General Insurance Company’s (“NY Marine”) Motion to Disqualify
                                      4
                                          Maynard Cooper & Gale, LLP (this firm is referred to herein as “Maynard”).1 (ECF
                                      5
                                          No. 106) (“the Motion”).
                                      6
                                                                              I.    INTRODUCTION
                                      7
                                                     Under the “particularly strict judicial scrutiny” accorded to disqualification
                                      8
                                          motions, NY Marine’s Motion serves little more than “tactical purposes . . . .”
                                      9
                                          Optyl Eyewear Fashion Int'l Corp. v. Style Companies, Ltd., 760 F.2d 1045, 1050
                                     10
                                          (9th Cir. 1985). The Motion relies upon outdated legal standards no longer
                                     11
                                          supported by the applicable California Rules of Professional Conduct, points to
                                     12
                                          strained factual assertions and innuendo, and presents a host of arguments that do
                                     13
                                          not provide any basis for disqualification, revealing the tactical intent of the
Two Embarcadero Center, Suite 1450




                                     14
                                          Motion. In any event, the “automatic disqualification” NY Marine seeks is not “the
     San Francisco, CA 94111




                                     15
      Maynard Nexsen LLP




                                          only way to ensure that lawyers honor their duties of confidentiality and loyalty.” In
         (415) 646-4700




                                     16
                                          re Cnty. of Los Angeles, 223 F.3d 990, 995 (9th Cir. 2000). Instead, and despite Mr.
                                     17
                                          Chipman having no recollection of performing any work on the instant litigation or
                                     18
                                          any matter associated with it, Travelers’ counsel promptly and effectively screened
                                     19
                                          Matthew A. Chipman from the matter in accordance with the principles of
                                     20
                                          California Rule of Professional Conduct 1.10(a)(2). As such, disqualification is not
                                     21
                                          appropriate here.
                                     22

                                     23                                 II.    FACTUAL BACKGROUND

                                     24
                                                     Travelers filed this action on July 20, 2021. (ECF No. 1.) At that time, and up

                                     25
                                          until February 28, 2023, Travelers was represented in this matter by Mark D.

                                     26
                                          Peterson, Kathleen O. Peterson, and Amy Howse of Cates Peterson, LLP.

                                     27
                                          (Declaration of Nicholas J. Boos (“Boos Decl.”), ¶ 2.) On February 17, 2023,

                                     28   1
                                           As NY Marine pointed out (ECF No. 106-2, n. 1) Maynard Cooper & Gale, LLP is
                                          now Maynard Nexsen LLP. A Notice has been filed with the Court. (ECF No. 107.)
                                              06817539.2                                  1
                                                TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 6 of 24 Page ID #:1596



    1
        Travelers contacted Nicholas J. Boos of Maynard about the possibility of assuming
    2
        the representation. On February 28, 2023, Travelers sought permission to substitute
    3
        Mr. Boos as counsel in place of the attorneys at Cates Peterson, LLP. (ECF No.
    4
        103.) The Court granted that request on the same day. (ECF 104).
    5
                Matthew Chipman originally worked for McCormick, Barstow, Sheppard,
    6
        Wayte & Carruth LLP (“McCormick, Barstow”) as a law student. (Declaration of
    7
        Matthew A. Chipman “Chipman Decl.”, ¶ 2.) Following his graduation, Mr.
    8
        Chipman became an employee of McCormick, Barstow on or about October 13,
    9
        2020. (Id., ¶ 3.) At this time, Mr. Chipman was not a lawyer and did not become
   10
        one until January 13, 2021, when he was admitted to the California Bar. (Id., ¶¶ 3-
   11
        4.) Mr. Chipman worked at McCormick Barstow, Sheppard, Wayte & Carruth LLP
   12
        (“McCormick Barstow”) as an associate. (Id., ¶ 3.) His duties there consisted of
   13
        assisting partners on assigned projects. (Id., ¶ 5.) Mr. Chipman left the employ of
   14
        McCormick, Barstow on April 1, 2022. (Id., ¶ 6.) Mr. Chipman began his
   15
        employment with Maynard on April 11, 2022. (Id., ¶ 7.). Maynard has
   16
        approximately 550 attorneys in 23 offices across the country. (Boos Decl., ¶ 9.)
   17
                On February 18, 2023, as part of Maynard’s conflict check process, Mr. Boos
   18
        spoke with Mr. Chipman regarding the fact that McCormick, Barstow was
   19
        representing NY Marine in this matter. (Boos Decl, ¶ 4); (Chipman Decl., ¶ 8.) Mr.
   20
        Boos asked if he worked on the matter while at McCormick Barstow. (Chipman
   21
        Decl. ¶ 8.) Mr. Chipman was aware that McCormick Barstow represented NY
   22
        Marine in the matter at issue, but said he had not worked on it. (Id., ¶ 8); (Boos
   23
        Decl., ¶ 4.) To this day, Mr. Chipman has no recollection of performing any work
   24
        on the matter while employed by McCormick, Barstow. (Chipman Decl., ¶¶ 11,
   25
        14.) Mr. Chipman does not recall billing any amount of time on such a matter. (Id.,
   26
        ¶ 14.) Mr. Chipman does not recall any phone calls or contact with NY Marine
   27
        regarding the matter. (Id., ¶ 11.) Mr. Chipman recalls a dinner with a representative
   28
        of NY Marine at which Mr. Chipman was the most junior member of McCormick
         06817539.2                               2
            TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 7 of 24 Page ID #:1597



    1
        Barstow, but he has no recollection of what was discussed. (Id., ¶ 12.) Prior to Mr.
    2
        Boos having this conversation with Mr. Chipman, Mr. Chipman did not access any
    3
        documents obtained by Maynard in the course of the representation, did not send or
    4
        receive any emails containing information about the case, as he did not know
    5
        Maynard had been contacted about representing Travelers in the instant matter.
    6
        (Chipman Decl. , ¶ 9.)
    7
                Mr. Chipman has not worked on this matter at Maynard. No documents or
    8
        communications regarding the matter have been directed to him, and there have
    9
        been no communications with Mr. Chipman regarding the substance of the matter.
   10
        (Boos Decl., ¶ 4); (Chipman Decl., ¶ 10.) Following the implementation of a formal
   11
        technological screen, Mr. Chipman is unable to access any electronic files relating
   12
        to the matter (there are no paper files related to the matter). (Boos Decl., ¶¶ 5,6.)
   13
        Maynard’s relevant staff in the practice group have been instructed not to
   14
        communicate with Mr. Chipman regarding the matter. (Boos Decl., ¶ 7.) They will
   15
        continue to be reminded not to do so every 60 days. (Boos Decl., ¶ 7.)
   16
                                      III.   LEGAL STANDARD
   17
                “The Central District has adopted California's ethical standards governing
   18
        attorney conflicts of interest.” Sherman v. CLP Res., Inc., No. CV 12-8080-
   19
        GW(PLAX), 2015 WL 13542762, at *2 (C.D. Cal. Feb. 4, 2015) (citing C.D. Cal.
   20
        L.R. 83-3.1.2; Rodriguez v. W. Publ'g Corp., 563 F.3d 948, 967 (9th Cir. 2009)).
   21
        “When considering a disqualification motion based on alleged conflicts of interest,
   22
        the court's ‘paramount concern’ is always preserving public trust in the legal
   23
        profession's integrity.” Id. (quoting People ex rel. Dep't of Corporations v.
   24
        SpeeDee Oil Change Sys., Inc. (“SpeeDee Oil”), 20 Cal. 4th 1135, 1145 (1999)).
   25
        “But the court must also be cognizant of other considerations, including the impact
   26
        disqualification may have on a party’s right to chosen counsel, an attorney’s interest
   27
        in representing a client, and the financial burden on a client of replacing
   28
        disqualified counsel.” Id. (citing William H. Raley Co. v. Superior Court, 149 Cal.
         06817539.2                                3
            TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 8 of 24 Page ID #:1598



    1
        App. 3d 1042, 1048 (1983)). “Consequently, courts must
    2
        evaluate disqualification motions holistically ‘to ensure that literalism does not
    3
        deny the parties substantial justice.’” Id. (quoting SpeeDee Oil, 20 Cal. 4th at
    4
        1144). “And because disqualification motions are ‘especially prone to tactical
    5
        abuse,’ [] and “strongly disfavored,” [] the court must subject their evidence and
    6
        arguments to “particularly strict judicial scrutiny[.]” Id. (quoting Sharp v. Next
    7
        Entm't, Inc., 163 Cal. App. 4th 410, 424 (2008); Visa U.S.A., Inc. v. First Data
    8
        Corp., 241 F.Supp.2d 1100, 1104 (N.D. Cal. 2003); Optyl Eyewear Fashion Int'l
    9
        Corp., 760 F.2d at 1050 (citations and quotations omitted)).
   10
                                      IV. ARGUMENT
   11
            A. The Motion Rests On A Faulty And Outdated Legal Premise.
   12
                NY Marine’s Motion argues repeatedly that any purported conflict here
   13
        requires “automatic” disqualification of every attorney at Maynard. (ECF 106-2, 2,
   14
        8, 13, 14, 15, 16, 18.) However, the Motion ignores changes to the applicable
   15
        imputed conflicts rule—California Rule of Professional Conduct 1.10—that was
   16
        added in 2018. Cal. R. Prof’l Conduct 1.10.
   17
                The current Rule 1.10 provides:
   18
                (a) While lawyers are associated in a firm, none of them shall
   19               knowingly represent a client when any one of them practicing
                    alone would be prohibited from doing so by rules 1.7 or 1.9,
   20               unless:
   21            ...
   22                 (2) the prohibition is based upon rule 1.9(a) or (b) and arises out of
                          the prohibited lawyer’s association with a prior firm, and
   23                     (i) the prohibited lawyer did not substantially participate in
                                the same or a substantially related matter;
   24                     (ii) the prohibited lawyer is timely screened from any
                                participation in the matter and is apportioned no part of the
   25                           fee therefrom; and
                          (iii) written notice is promptly given to any affected former
   26                           client to enable the former client to ascertain compliance
                                with the provisions of this rule, which shall include a
   27                           description of the screening procedures employed; and an
                                agreement by the firm to respond promptly to any written
   28                           inquiries or objections by the former client about the
                                screening procedures.
         06817539.2                                    4
            TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 9 of 24 Page ID #:1599



    1
        Cal. R. Prof’l Conduct 1.10.
    2
                Under the new rule, the analysis proceeds differently. Now, courts recognize
    3
        the general rule for imputation when an attorney who participates in a matter with a
    4
        prior law firm moves to a firm adverse to the prior firm’s client on a substantially
    5
        similar matter. See Klein v. Facebook, Inc., No. 20-CV-08570-LHK, 2021 WL
    6
        3053150, at *4 (N.D. Cal. July 20, 2021) (“When a conflict of interest requires an
    7
        attorney's disqualification from a matter, the disqualification normally extends
    8
        vicariously to the attorney's entire law firm.”) (quoting SpeeDee Oil, 20 Cal. 4th at
    9
        1139). However, courts separately analyze whether, despite a potential conflict
   10
        arising from the lawyer’s actions in relation to the representation, the requirements
   11
        of Rule 1.10(a)(2) are met. See, e.g., id.
   12
                The cases cited by NY Marine here almost exclusively predate the changes to
   13
        the express provisions of the new Rule. The only two cases that post-date the
   14
        Rule’s changes performed this very analysis. See (ECF No. 106-2, 10-11, 19)
   15
        (citing Sierra v. Costco Wholesale Corp., No. 22-CV-01444-JSW, 2022 WL
   16
        4454359, at *4 (N.D. Cal. Sept. 23, 2022)); (Id., 19) (citing Maria De Jesus Cruz
   17
        Ramos v. Costco Wholesale Corp., et al., Case no. CV 22-3579- MWF (AFMx),
   18
        2022 WL 18278604 *2 (C.D.Cal. Nov. 9, 2022)). Both cases involved the same
   19
        disqualified lawyer, who had a uniquely pervasive relationship with the defendant
   20
        in similar slip and fall litigation. Sierra, 2022 WL 4454359, at *1 (disqualified
   21
        attorney “handled every aspect of the Costco cases on which he worked”); Maria
   22
        De Jesus Cruz Ramos, 2022 WL 18278604 *1 (disqualified attorney “handled
   23
        virtually every aspect of Costco's files.”). Despite this lawyer’s conflict due to
   24
        personal involvement, the court in Sierra addressed “the question [of] whether [the
   25
        attorney’s] disqualification is imputed to [his current firm].” 2022 WL 4454359, at
   26
        *4. Similarly, the court in Maria De Jesus Cruz Ramos asked whether “the
   27
        presumption of vicarious disqualification of his law firm ha[d] been rebutted.” 2022
   28
        WL 18278604 *2. In sum, the updated Rule 1.10 now provides that courts must
         06817539.2                                  5
            TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 10 of 24 Page ID #:1600



     1
         analyze whether the requirements 1.10(a)(2) are met, despite an attorney’s adverse
     2
         involvement in a related matter at a prior firm.
     3
                 Aside from these cases applying the updated Rule 1.10, there are several
     4
         other pieces of evidence that demonstrate the required analysis of the 1.10(a)(2)
     5
         screening requirements despite a lawyer’s personal involvement, i.e., the lack of an
     6
         automatic imputation. First, the text of Rule 1.10(a)(2)(i) supports this conclusion.
     7
         The Rule contemplates that the prohibition on the lawyer whose conflict is to be
     8
         imputed is based upon a substantially similar or identical matter at a prior firm.
     9
         Subsection (a)(2)(i) further requires—for the exception to apply—that the lawyer
    10
         whose conflict is to be imputed may not have “substantially participate[d]” in the
    11
         matter at the prior firm. This requirement is crucial to the conclusion that there is no
    12
         automatic imputation and disqualification based upon the lawyer’s personal
    13
         involvement in the prior firm. If the Rule was intended to provide for automatic
    14
         exclusion, there would be no need to qualify the level of the lawyer’s prior
    15
         participation. Under the construct urged by NY Marine, any participation in the
    16
         same or substantially similar matter would lead to automatic disqualification. This
    17
         would leave the “substantially participate” language entirely superfluous. This runs
    18
         against the Court’s duty to make “every effort not to interpret a provision in a
    19
         manner that renders other provisions of the same statute
    20
         inconsistent, meaningless or superfluous.” Arizona All. for Cmty. Health Centers v.
    21
         Arizona Health Care Cost Containment Sys., 47 F.4th 992, 999 (9th Cir. 2022)
    22
         (citations and internal quotation marks omitted). In this way, the very language of
    23
         Rule 1.10(a) demonstrates that personal participation in a matter at a prior firm does
    24
         not provide automatic disqualification of everyone at the lawyer’s current firm.
    25
                 The Comments to the Rule provide for the same conclusion. Comment 1 sets
    26
         out a number of factors to be used “[i]n determining whether a prohibited lawyer’s
    27
         previous participation was substantial . . . .” Cal. R. Prof’l Conduct 1.10, cmt. [1].
    28
         Again, under NY Marine’s reading this would be a completely useless comment;
          06817539.2                                6
             TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 11 of 24 Page ID #:1601



     1
         once the lawyer has been personally involved, his later firm would be automatically
     2
         disqualified. There would be no need to determine the substantiality of the
     3
         involvement in the matter. The existence of the comment is further proof that there
     4
         is no automatic disqualification.
     5
                    The Rule change also reflects the broader trends recognizing the changing
     6
         legal landscape. For example, in In re Cnty. of Los Angeles, the Ninth Circuit found
     7
         that “[t]he vicarious disqualification of an entire firm can work harsh and unjust
     8
         results, particularly in today's legal world where lawyers change associations more
     9
         freely than in the past.” 223 F.3d 990, 996 (9th Cir. 2000). “A rule that
    10
         automatically disqualifies a firm in all cases substantially related to the tainted
    11
         lawyer’s former representation could work a serious hardship for the lawyer, the
    12
         firm and the firm's clients.” Id. This is what the new Rule 1.10 purports to do. Like
    13
         the Model Rules before it, Rule 1.10 “recognize[s] that the increased mobility of
    14
         lawyers between firms calls for a less rigorous application of the disqualification
    15
         rules.” Id. (citing Model Rules of Professional Conduct, Rule 1.9 cmt. 3 (1983)). In
    16
         sum, the language of Rule 1.10, the cases applying it, and the broader trends in
    17
         analyzing conflicts all demonstrate that automatic disqualification is not appropriate
    18
         here, even if Mr. Chipman had some involvement on the matter at McCormick
    19
         Barstow. Instead, the Court should and, indeed, must determine whether—using the
    20
         requirements of Rule 1.10(a)—the conflict should be imputed to Maynard, and
    21
         whether disqualification is therefore appropriate.
    22     B. The Requirements of Rule 1.10(a) Are Met Such That Any Conflict Of
    23        Mr. Chipman Should Not Be Imputed To Maynard.
    24              Rule 1.10(a)(2) has three requirements.2 The lawyer must not have

    25   “substantially participate[d] in the same or a substantially related matter;” must be

    26

    27

    28   2
           Facially, any conflict Mr. Chipman has “arises out of [his] association with a prior
         firm.” Cal. R. Prof’l Conduct 1.10(a)(2).
             06817539.2                               7
                TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 12 of 24 Page ID #:1602



     1
         “timely screened”3; and the latter firm must “promptly” provide notice in writing to
     2
         the “former client” with “a description of the screening procedures employed; and
     3
         an agreement by the firm to respond promptly to any written inquiries or objections
     4
         by the former client about the screening procedures.” Cal. R. Prof’l Conduct
     5
         1.10(a)(2). The circumstances here meet all of these requirements.
     6         1. Mr. Chipman’s Participation, If Any, Was Insubstantial.
     7              All of the evidence here, including NY Marine’s vague assertions, point to
     8   the same conclusion: Mr. Chipman had little, if any—let alone substantial—
     9   participation in the matter while employed at McCormick Barstow. “The
    10   Comments to Rule 1.10(a)(2) identify four factors that should be considered in
    11   determining whether a prohibited lawyer’s previous participation was substantial:
    12   ‘[1] the lawyer's level of responsibility in the prior matter, [2] the duration of the
    13   lawyer's participation, [3] the extent to which the lawyer advised or had personal
    14   contact with the former client, and [4] the extent to which the lawyer was exposed
    15   to confidential information of the former client likely to be material in the current
    16   matter.’” Klein v. Facebook, Inc., No. 20-CV-08570-LHK, 2021 WL 3053150, at
    17   *5 (N.D. Cal. July 20, 2021) (citing Cal. R. Prof’l Conduct 1.10, cmt. [1]).
    18              NY Marine does not claim Mr. Chipman had any responsibility for the case
    19   while at McCormick Barstow, much less a level of responsibility that would impute
    20   any conflict to 549 other attorneys at Maynard. Instead, NY Marine focuses on a
    21   single “assignment” that was supposedly performed in one day. Notably, despite
    22   pointing to this single assignment as the primary basis for its Motion, NY Marine
    23   makes no mention of whether Mr. Chipman billed any time for this work or
    24   whether NY Marine paid McCormick Barstow for the work. In any event, the
    25   claimed involvement was infinitesimally small considering the context. Mr.
    26
         3
    27     This requirement also requires the lawyer to be “apportioned no part of the fee”
         from the representation. Cal. R. Prof’l Conduct 1.10(a)(2)(ii). Mr. Chipman meets
    28   this requirement because he is paid solely via salary and will not apportioned any
         fee generated in this matter. (Boos Decl., ¶ 8.)
             06817539.2                               8
                TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 13 of 24 Page ID #:1603



     1
         Chipman worked at that firm as an attorney for more than a year. (Chipman Decl.,
     2
         ¶¶ 4, 6.) His entire time there was spent accomplishing tasks assigned by
     3
         supervising attorneys. (Id., ¶ 5.) Mr. Chipman billed more than 2,000 hours during
     4
         his time at McCormick Barstow. (Id. ¶ 14.) And despite having no recollection of
     5
         billing any time on this matter, it appears that Mr. Chipman may have performed—
     6
         at most—one discrete piece of legal work that took him—at most—one day to
     7
         complete.4 (ECF No. 106-2, 4.); (ECF No. 106-4, Rasmussen Decl., ¶ 5) (ECF No.
     8
         106-3, Wagoner Decl., ¶ 7.) The remainder of Mr. Chipman’s purported
     9
         interactions with the matter appear to be conversations where Mr. Chipman was—
    10
         at most—a passive participant and mostly in social settings. None of the assertions
    11
         by NY Marine suggest Mr. Chipman was directing the strategy discussed. This
    12
         factor weighs against a finding of substantial participation. See Klein, 2021 WL
    13
         3053150, at *5 (factor “weighs against a finding of substantial participation because
    14
         [disqualified attorney] was a fourth-year associate who was primarily assisting . . .a
    15
         partner”).
    16
                    The “duration” factor also weighs heavily against substantial involvement.
    17
         Again, the only actual legal assignment Mr. Chipman worked on in connection with
    18
         the matter took him—at most—one day. As noted above, it is telling that NY
    19
         Marine has not disclosed how many hours Mr. Chipman spent on the matter, as this
    20
         is the most important factor in this determination. Klein, 2021 WL 3053150, at *5
    21
         (“800 hours, or three-quarters of the time he billed during that period” “weighs
    22
         heavily” in favor of finding substantial involvement). Either Mr. Chipman did not
    23
         bill any time doing this “legal work” or the time was so miniscule that NY Marine
    24
         has chosen not to disclose it. Mr. Chipman’s purported occasional presence in
    25
    26   4
           Without the benefit of having access to even redacted copies of the March 1 and 2
    27   email exchanges referenced in NY Marine’s Motion, access to any billing records
         reflecting such work, or Mr. Chipman’s recollection of having performed the work
    28   (of which he has none), Travelers cannot concede any work was actually ever
         performed on this matter by Mr. Chipman.
             06817539.2                               9
                TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 14 of 24 Page ID #:1604



     1
         conversations where the matter was discussed is, at best, imprecise as to timing
     2
         ((ECF No. 106-5, Rasmussen Decl., ¶ 8); (ECF No. 106-9, Declaration of Lejf E.
     3
         Knutson, Decl. ¶ 4.) (describing a “camping trip during the summer of 2021.”)),
     4
         subject ((Id.); (ECF No. 106-2, 5) (“various factual issues bearing on NY Marine’s
     5
         legal position, as well as their thoughts concerning actual or potential tactical and
     6
         legal strategies respecting the litigation”) (citing (ECF No. 106-3, Wagoner Decl., ¶
     7
         8); (ECF No. 106-4, Rasmussen Decl., ¶ 6); (ECF No. 106-6, Declaration of
     8
         Graham Van Leuven ¶ 3); (ECF No. 106-5 Declaration of Ellen Fine, ¶ 7)), or
     9
         evidentiarily problematic, providing no indication that Mr. Chipman was privy to
    10
         any information (ECF No. 106-4, Rasmussen Decl., ¶ (“generally” . . . this was a
    11
         high-profile matter, and unsurprisingly, it was routinely discussed”). In sum, the
    12
         duration of Mr. Chipman’s involvement was—in terms of actual legal tasks—was
    13
         one day. This weighs against a finding of substantial involvement.
    14
                    The third factor regarding advice to the client is similarly not indicative of
    15
         substantial involvement. Again, NY Marine has identified exactly one meeting with
    16
         its representative that Mr. Chipman attended: a dinner at a restaurant. (ECF No.
    17
         106-2, 5) (citing (ECF No. 106-3, Wagoner Decl., ¶ 8); (ECF No. 106-4,
    18
         Rasmussen Decl., ¶ 6); (ECF No. 106-6, Declaration of Graham Van Leuven ¶ 3);
    19
         (ECF No. 106-5 Declaration of Ellen Fine, ¶ 7).)5 Additionally, though NY Marine
    20
         asserts “the attendees all discussed” the matter (ECF No. 106-2, 5), it is factually
    21
         not clear how Mr. Chipman could have done so, since he was not given his lone
    22
         assignment on the matter until the following month (ECF No. 106-4, Rasmussen
    23
         Decl., ¶ 6). In any event, Mr. Chipman’s one meeting with the client where the
    24
         matter was discussed—prior to any actual involvement by him—paired with the
    25
    26   5
          Again, NY Marine’s Declarations are more telling for what they omit than what
    27   they contain: None of the dinner attendees claim any McCormick Barstow attorney
         billed his or her time during that dinner or that NY Marine paid for any legal
    28   services rendered during that dinner despite claiming that legal strategy related to
         this matter was discussed during the dinner.
             06817539.2                                 10
                TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 15 of 24 Page ID #:1605



     1
         fact that Mr. Chipman had been a lawyer for a little over a month at the time
     2
         (Chipman Decl., ¶ 4) does not show substantial involvement. See Klein, 2021 WL
     3
         3053150, at *6 (third factor weighed “slightly against a finding of substantial
     4
         participation” despite attorney’s “regular phone calls” with client representative).
     5
                 The fourth factor additionally weighs against substantial participation. In
     6
         evaluating the exposure to confidential information, the court considers the
     7
         activities taken by the lawyer, and analyze how much confidential information may
     8
         be transmitted. In this case, there is a total void of such information. NY Marine’s
     9
         Motion and materials wholly fail to identify what information and documents were
    10
         provided to Mr. Chipman or what Mr. Chipman actually did. If these were publicly
    11
         available documents or the policy itself, the already dubious substantial
    12
         participation is even lower. Further, this was a high profile trial of which the public
    13
         was generally aware, including many of the facts at issue. (ECF No. 106-4,
    14
         Rasmussen Decl., ¶ 8.) The universe of nonpublic knowledge was comparatively
    15
         smaller than in a typical case. In sum, Mr. Chipman’s limited participation was far
    16
         from working with experts, attending weekly meetings and calls, or receiving
    17
         thousands of emails. Klein, 2021 WL 3053150, at *6. It appears that – at most -
    18
         Mr. Chipman’s review consisted of initial and very limited review of some basic
    19
         documents. In all, the factors weigh against a finding of substantial participation.
    20        2. Mr. Chipman Was Timely Screened.
    21           Contrary to NY Marine’s representations, Mr. Chipman was timely screened
    22   from the matter, thus fulfilling the Rule 1.10 requirement. The Rules of
    23   Professional Conduct define what constitutes an adequate screen:
    24
                 “Screened” means the isolation of a lawyer from any participation in a
    25           matter, including the timely imposition of procedures within a law
                 firm* that are adequate under the circumstances (i) to protect
    26           information that the isolated lawyer is 2 obligated to protect under
                 these rules or other law; and (ii) to protect against other law firm*
    27           lawyers and nonlawyer personnel communicating with the lawyer
                 with respect to the matter.
    28   Cal. R. Prof’l Conduct 1.01(k). Thus, the effectiveness of a screen is judged “from

          06817539.2                                11
             TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 16 of 24 Page ID #:1606



     1
         case to case.” Exp.-Imp. Bank of Korea v. ASI Corp., No. CV162056MWFJPRX,
     2
         2019 WL 8200603, at *10 (C.D. Cal. Jan. 16, 2019) (citing Kirk, 183 Cal. App. 4th
     3
         at 810). The minimum requirements are that the screen was created “as soon as the
     4
         conflict was revealed, rather than waiting for the court to impose screening
     5
         measures” and that there were “preventative measures” to foreclose the possibility
     6
         transmission of confidential information. Id. (citing Kirk, 183 Cal. App. 4th at
     7
         810). Courts also consider other factors including, relevant here, “prohibitions
     8
         against and sanctions for discussing confidential matters [and] established rules
     9
         and procedures preventing access to confidential information and files.” Id.
    10
         (further citations omitted).
    11
                    The screen is timely if created “as soon as the conflict was revealed.” Here,
    12
         Maynard created a preliminary screen before any conflict was revealed. Again, Mr.
    13
         Boos and Mr. Chipman discussed McCormick Barstow’s representation in the
    14
         matter first on February 18, 2023. (Boos Decl, ¶ 4.); (Chipman Decl., ¶ 8.) During
    15
         this conversation, Mr. Chipman had no recollection of working on the matter and
    16
         said so. (Boos Decl, ¶ 4.); (Chipman Decl., ¶ 8.)6 Accordingly, at this time, there
    17
         was no conflict because Mr. Chipman had not—to anyone at Maynard’s
    18
         knowledge—participated “in the same or a substantially related matter” at
    19
         McCormick Barstow. Despite the absence of any apparent conflict, Maynard took
    20
         preventative measures designed to prevent Mr. Chipman from working on the
    21
         matter. Namely, Mr. Chipman was told that he would not be working on the
    22
         matter. (Boos Decl., ¶ 4); (Chipman Decl., ¶ 8.) Again, the touchstone of a screen
    23
         is whether it is “adequate under the circumstances.” Cal. R. Prof’l Conduct 1.01(k).
    24
         The preventative measure of communicating to Mr. Chipman that he would not
    25
         work on the matter—and abiding by that communication—were adequate, given
    26

    27
         6
           If not already clear, Mr. Chipman’s lack of any recollection was reasonable as the
    28   only purported work he performed on the case took—at most—one day before the
         filing of the instant action. (ECF No. 106-4, Rasmussen Decl., ¶ 5); (ECF No. 1)
             06817539.2                                12
                TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 17 of 24 Page ID #:1607



     1
         that there was no former client conflict apparent at this time.
     2
                 Further, when NY Marine identified in its March 2, 2023 letter the apparent
     3
         limited amount of work Mr. Chipman performed on the matter while under the
     4
         employ of McCormick Barstow (ECF No. 106-3, Wagoner Decl., ¶ 12, Ex. 2)
     5
         Maynard took additional steps. These included, relevant to the additional factors,
     6
         setting out a prohibition to all affected staff that Mr. Chipman was not to be
     7
         included in any communications or documents regarding the matter (Boos Decl., ¶
     8
         7), setting up a system of reminders every sixty days of the prohibition (Id.), and—
     9
         most importantly—implementing procedures by which it became impossible for
    10
         Mr. Chipman to access files related to the matter (Id.,¶ 5). These procedures were
    11
         implemented when the potential conflict was revealed by NY Marine’s letter. Exp.-
    12
         Imp. Bank of Korea v. ASI Corp., No. CV162056MWFJPRX, 2019 WL 8200603,
    13
         at *10 (C.D. Cal. Jan. 16, 2019) (“In other circumstances, four days may be
    14
         timely.”). The measures were adequate given the lack of involvement and the
    15
         functional inability of Mr. Chipman to access confidential information relating to
    16
         the matter due to the screen.
    17         3. Prompt Notice Was Given To NY Marine.
    18           NY Marine does not appear to contend that this requirement is not met and it
    19   would not be logical to do so. The notice was provided promptly: ten days after
    20   Maynard had joined the case (ECF No.103), and one week after NY Marine’s letter
    21   (ECF No. 106-3, Wagoner Decl., ¶ 12, Ex. 2). The letter provided all of the
    22   information about the procedures put in place and—as required—offered to answer
    23   any additional questions. The notice fulfilled all of Rule 1.10’s requirements. Thus,
    24   any conflict that Mr. Chipman has was not imputed to Maynard, and
    25   disqualification is inappropriate.
    26      C. The Motion Identifies A Host Of Conduct That Does Not Give Rise To
               The Possibility Of Disqualification.
    27
                 Indicative of a “kitchen-sink approach,” NY Marine’s Motion points to a
    28
         variety of purported factual conduct that has no possibility of giving rise to
          06817539.2                               13
             TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 18 of 24 Page ID #:1608



     1
         disqualification of Maynard here. Namely, references to Mr. Chipman’s activities
     2
         prior to becoming a lawyer, the fact that Mr. Chipman performed work on matters
     3
         on behalf of NY Marine but not related to this matter, and the fact that others at
     4
         McCormick Barstow worked on the instant matter do not provide any recognized
     5
         basis for disqualification here.
     6          1. Mr. Chipman’s Time Before Becoming A Lawyer.
     7           It is undisputed that Mr. Chipman worked for McCormick Barstow as a law
     8   student in May through August of 2019. (Chipman Decl., ¶ 2); (ECF No. 106-2, 3.)
     9   It is also undisputed that Mr. Chipman worked for McCormick Barstow from
    10   October 13, 2020 to January 13, 2021. (Chipman Decl., ¶ 3, 6); (ECF No. 106-2, 3.)
    11   It is further undisputed that during this time, Mr. Chipman was not an attorney.
    12   (Chipman Decl., ¶ 4); (ECF No. 106-2, 3, n. 3.) NY Marine attempts to make some
    13   unspecified innuendo regarding these uncontested matters; noting, “[o]n October
    14   13, 2020—the same day the Associate began his employment at McCormick
    15   Barstow—NY Marine retained McCormick Barstow to represent it in connection
    16   with certain coverage disputes between itself, Travelers and Ms. Heard . . . .” (ECF
    17   No. 106-2, 15.) However, the only instance in which Mr. Chipman is alleged to
    18   have had any work related to this matter while employed at McCormick Barstow is
    19   in March 2021. (ECF No. 106-2, 4); (ECF No. 106-4 (“Rasmussen Decl”), ¶ 5);
    20   (ECF No. 106-3 (“Wagoner Decl.”), ¶ 7.)
    21           Logically, this string of facts presents no basis for disqualification. First, by
    22   virtue of his lack of any assignment related to the matter, there was no confidential
    23   information obtained by then-non-attorney Mr. Chipman, and thus no reason to
    24   disqualify him for actions during this period. Indeed, the camping trip and dinner
    25   that NY Marine references—to the extent they are relevant at all—were not until
    26   “the summer of 2021” and February 2022, well after Mr. Chipman became an
    27   attorney. (ECF No. 106-4 (“Rasmussen Decl”), ¶¶ 6,8.) Further, Comment [2] to
    28   California Rule of Professional Conduct 1.10 provides that the Rule does not

          06817539.2                                 14
             TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 19 of 24 Page ID #:1609



     1
         “prohibit representation if the lawyer is prohibited from acting because of events
     2
         before the person became a lawyer, for example, work that the person did as a law
     3
         student.” Indeed, the imputation of conflicts arising through non-lawyers only
     4
         applies when the non-lawyer obtains confidential information. In re Complex
     5
         Asbestos Litig., 232 Cal. App. 3d 572, 592 (Ct. App. 1991). In short, the entire time
     6
         period before Mr. Chipman became a lawyer is irrelevant for present purposes
     7
         because during such time, he obtained no confidential information regarding the
     8
         instant matter. No conflict of interest is presented.
     9          2. Mr. Chipman’s Work On Unrelated Matters At McCormick Barstow.
    10           In further tacit acknowledgment that Mr. Chipman performed little to no
    11   actual legal work on the instant matter, NY Marine’s Motion again attempts to
    12   muddy the waters by—in two separate footnotes—noting that Mr. Chipman
    13   “performed work on several other NY Marine files” apart from the current matter.
    14   (ECF No. 106-2, 4, n. 6.); (Id., 2, n. 2.) (“During this time, McCormick Barstow
    15   was also handling approximately 75 other files for NY Marine, some of which files
    16   the Associate also assisted in handling.”) The reason for NY Marine’s burying such
    17   half-baked suggestions in footnotes in unsurprising, given that Mr. Chipman’s work
    18   on unrelated NY Marine matters cannot give rise to a conflict in this case.
    19           California courts have “not adopt[ed] the so-called playbook approach.”
    20   Farris v. Fireman's Fund Ins. Co., 119 Cal. App. 4th 671, 680 (2004). Instead, “[t]o
    21   create a conflict requiring disqualification, [the law] mandates that the information
    22   acquired during the first representation be ‘material’ to the second; that is, it must
    23   be found to be directly at issue in, or have some critical importance to, the second
    24   representation.” Id. (citations omitted). References to “internal guidelines, training
    25   methodology, underwriting protocols, litigation policies, and other confidential
    26   institutional information” or “overall structure and practices” are not sufficient.
    27   Victaulic Co. v. Am. Home Assurance Co., 80 Cal. App. 5th 485, 506–07 (2022);
    28   Farris, 119 Cal. App. 4th at 680. “Such generalized assertions cannot establish a”

          06817539.2                                15
             TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 20 of 24 Page ID #:1610



     1
         conflict of interest. Victaulic Co., 80 Cal. App. 5th at 507.
     2
                 To the extent they are arguments at all, NY Marine’s references to Mr.
     3
         Chipman’s work on other NY Marine matters are transparent allusions to the over-
     4
         generalized “playbook” allegations that California courts have repeatedly refused to
     5
         find can equate to a conflict of interest. NY Marine does not even attempt to clarify
     6
         how any information from any other matter would be material in this matter. This
     7
         conduct is clearly insufficient create a conflict of interest.
     8        3. The Work Of Other McCormick Barstow Attorneys On The Matter
     9            At Issue.
    10           In its most blatant disregard of case law, NY Marine argues that because its

    11   current counsel worked on this matter, their knowledge is imputed to Mr. Chipman

    12   even after he left the employ of McCormick Barstow and “even if [Mr. Chipman]

    13   had not actually worked on this matter . . . .” (ECF No. 106-2, 2.) This is not so.

    14   What NY Marine argues for here is known as “double imputation,” “first from one

    15   member of the law firm representing the [former client] to another member of that

    16   firm, and second from the latter attorney to a different law firm entirely.” Frazier v.

    17   Superior Ct., 97 Cal. App. 4th 23, 27, 118 Cal. Rptr. 2d 129, 132 (2002). “Case law

    18   does not support” this theory. Id.; Adams v. Aerojet-Gen. Corp., 86 Cal. App. 4th

    19   1324, 1336, 104 Cal. Rptr. 2d 116, 124 (2001) (refusing to adopt theory whereby

    20   “former firm’s relationship with the same client was substantially related to the new

    21   litigation, regardless of whether the attorney personally acquired any material

    22   confidential information.”).

    23           Here, NY Marine attempts to make this very argument. Indeed, it avers that

    24   the information other attorneys at McCormick Barstow acquired during this

    25   matter—at any time—are imputed to Mr. Chipman; and that knowledge is imputed

    26   to all of Maynard. (ECF No. 106-2, 2.) Again, this theory has been rejected. The

    27   only way that Mr. Chipman’s conflict can be imputed to Maynard is if Mr.

    28   Chipman actually obtained confidential information. Frazier, 97 Cal. App. 4th at 30
         (“knowledge is imputed only once, from the attorney with the confidential
          06817539.2                               16
             TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 21 of 24 Page ID #:1611



     1
         information, to the remainder of his or her firm”). NY Marine’s argument that
     2
         knowledge from other members of McCormick Barstow can be imputed to Mr.
     3
         Chipman and, in turn, imputed to Maynard is plainly unavailing.
     4     D. The Motion’s Purpose Is Tactical, Further Justifying Denial.
     5           “Disqualification proceedings are equitable in nature.” Id. (citing UMG
     6   Recordings, Inc. v. MySpace, Inc., 526 F.Supp.2d 1046, 1062 (C.D. Cal. 2007)).
     7   “For this reason, courts may properly consider the totality of the circumstances,
     8   including whether the motion is being brought in bad faith or otherwise for tactical
     9   reasons.” Id. at *7 (citing White v. Superior Court, 98 Cal.App.3d 51, 55 (1979)).
    10   While it may be improper to “deny an otherwise well-taken motion solely because it
    11   conveyed a tactical advantage, [an] indicia of gamesmanship [can] offer serious
    12   additional support for denying the motion.” Id. (emphasis in original). One indicia
    13   of tactical motivation in a motion to disqualify is a “kitchen-sink approach . . . .”
    14   Moreno v. Autozone, Inc., No. C05-04432 MJJ, 2007 WL 4287517, at *2 (N.D.
    15   Cal. Dec. 6, 2007); Sherman, No. CV 12-8080-GW(PLAX), 2015 WL 13542762, at
    16   *6.
    17           As demonstrated above, NY Marine has taken a kitchen sink approach to the
    18   motion, attempting to distract with irrelevant facts and innuendo. Even where it is
    19   potentially meritorious, there is less than full candor. Notably, NY Marine has
    20   failed to provide any information as to the actual time Mr. Chipman billed to the
    21   matter while employed at McCormick Barstow, has provided next to no
    22   information about what information was actually conveyed to him or the work he
    23   performed, and offers decidedly vague characterizations of conversations about
    24   “various factual issues” that occurred in times as vague as a season of 2021 and
    25   other conclusory jargon. While Travelers steadfastly maintains that under the
    26   appropriate legal standards there is no reason for Maynard’s disqualification, this
    27   conduct—taken as a whole— evidences a tactical motive for the instant Motion and
    28   provides additional good cause for its denial.

          06817539.2                                17
               TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 22 of 24 Page ID #:1612



     1                                    V.    CONCLUSION
     2           For the foregoing reasons, Travelers respectfully submits that NY Marine’s
     3   Motion is due to be denied.
     4
          Dated: April 20, 2023                          MAYNARD NEXSEN LLP
     5

     6                                                   /s/ Nicholas J. Boos
                                                   By:        NICHOLAS J. BOOS
     7                                                   Attorneys for Plaintiff and Counter-
                                                         Defendant
     8                                                   TRAVELERS COMMERCIAL
                                                         INSURANCE COMPANY
     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25
    26

    27

    28

          06817539.2                              18
             TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 23 of 24 Page ID #:1613



     1
                                       PROOF OF SERVICE
     2
         STATE OF CALIFORNIA                    )
     3   COUNTY OF SAN FRANCISCO                         )
     4          I am employed in the County of San Francisco, State of California. I am
         over the age of 21 and am not a party to the within action. My business address is
     5   Maynard Nexsen LLP, Two Embarcadero Center, Suite 1450, San Francisco,
         California 94111. On the date indicated below, I served the foregoing document
     6   described as:
     7   TRAVELERS COMMERCIAL INSURANCE COMPANY’S RESPONSE IN
          OPPOSITION TO NEW YORK MARINE AND GENERAL INSURANCE
     8               COMPANY’S MOTION TO DISQUALIFY
     9   on the interested parties in this action by placing: [ ] the original document - OR-
         [X] a true and correct copy thereof to the persons below at the email addresses
    10   below:
    11                           James P. Wagoner, #58553
                          jim.wagoner@mccormickbarstow.com
    12                            Lejf E. Knutson, #234203
                           lejf.knutson@mccormickbarstow.com
    13                        Nicholas H. Rasmussen, #285736
                           nrasmussen@mccormickbarstow.com
    14                        Graham A Van Leuven, #295599
                       graham.vanleuven@mccormickbarstow.com
    15      MCCORMICK, BARSTOW, SHEPPARD, WAYTE & CARRUTH LLP 7647
                                     North Fresno Street
    16                            Fresno, California 93720
                                     Tel: (559) 433-1300
    17                              Fax: (559) 433-2300
    18         Attorneys for Defendant New York Marine and General Insurance Company
    19                                        Kirk Pasich
                                       kpasich@pasichllp.com
    20                                     Kayla Robinson
                                      krobinson@pasichllp.com
    21                                      PASICH LLP
                        10880 Wilshire Blvd., Suite 200 Los Angeles, CA 90024
    22                                   Tel: (424) 313-7860
    23                           Attorneys for Non-Party Amber Heard
    24   [X]     BY CM/ECF ELECTRONIC SERVICE: The following are registered
                 CM/ECF users with the Court and have consented to service through the
    25           Court’s automatic transmission of a notice of electronic filing.
    26         I declare that I am employed in the office of a member of the bar of this
         Court at whose direction the service was made. I declare under penalty of perjury
    27   under the laws of the State of California that the foregoing is true and correct.
    28

          06817539.2                                19
               TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
Case 2:21-cv-05832-GW-PD Document 108 Filed 04/20/23 Page 24 of 24 Page ID #:1614



     1   Executed on April 20, 2023 in San Francisco, California.
     2

     3
                                              Brian Recinos
     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25
    26

    27

    28

          06817539.2                             20
             TRAVELERS COMMERCIAL INSURANCE COMPANY’S OPPOSITION TO MOTION TO DISQUALIFY
